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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 0:20-CV-61872-AHS

  ALAN DERSHOWITZ,

         Plaintiff,

  v.

  CABLE NEWS NETWORK, INC.,

        Defendant.
  ______________________________/

                  REPLY TO MOTION FOR ENTRY OF ORDER SEALING
                     DEFENDANT’S MOTION FOR CLARIFICATION

         Defendant, CABLE NEWS NETWORK, INC., (“CNN” or “Defendant”) files its Reply to

  its Motion for Entry of an Order Sealing Defendant’s Motion for Clarification and Request for

  Expedited Briefing Schedule and states as follows:

         As CNN’s counsel explicitly told Plaintiff’s counsel during a telephone call yesterday,

  CNN’s Motion for Clarification quotes portions of the transcript of the hearing on April 21, 2022,

  which was sealed by this Court by order dated May 2, 2022 [D.E. 107]. For that reason, and that

  reason only, CNN seeks to seal the motion for clarification. Plaintiff’s counsel appeared to agree

  to the request to seal the motion for clarification on the phone yesterday, on this basis.

         In any event, the sole basis for CNN’s motion to seal the motion for clarification is that the

  transcript quoted therein is already under seal.

         WHEREFORE, Defendant Cable News Network, Inc. hereby requests that this Court grant

  its Motion for Entry of an Order Sealing Defendant’s Motion for Clarification and Request for

  Expedited Briefing Schedule and grant any further relief as is just, equitable, and proper.




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed and

  served via the Court’s CM/ECF portal on this 4th day of May, 2022 to Brian M. Rodier, Esq.,

  bmrodier@rodierlegal.com; Rodier & Rodier, P.A., Counsel for Plaintiff, 400 N. Federal

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